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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGEL GONZALEZ                             : CIVIL ACTION
                                           :
             v.                            : NO. 20-4193
                                           :
STATE FARM MUTUAL AUTOMOBILE               :
INSURANCE COMPANY                          :



                                     ORDER

             AND NOW, this 21st day of October, 2021, upon consideration of the
Defendant’s motion for summary judgment and all responses and replies thereto, IT IS
HEREBY ORDERED that:
   1. The Defendant’s motion for summary judgment [Doc. 25] is GRANTED.
   2. Judgment is ENTERED in favor of the Defendant and against the Plaintiff.
   3. The Clerk shall mark this case as terminated.



                                           BY THE COURT:



                                           /s/ Jeffrey L. Schmehl
                                           JEFFREY L. SCHMEHL, J.
